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                                 Anthony N. Iannarelli Jr.
                                    Attorney af Law
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                                  Suffers, New York 10901
                                       212-431-1031
                                       anilaw2@gmaiLcom

                                           March 24, 2025
Hon. Catherine O'Hagan Wolfe
Clerk
U.S. Court of Appeals
for the Second Circuit
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

              Re: Mohamed John Akhtar et al., Appellants v. Eric Adams, Mayor
                         of the City of New York et al. Appellees
                                Doc. No. 24-2370
                                District Court Doc. No. 23-cv-06585

Dear Ms. O'Hagan Wolfe,

        Consistent with an Order from the Court, dated March 4, 2025, plaintiffs-appellants
filed a Motion to Withdraw their appeal concerning the case against defendant-appellee
Eric M. Eisenberg. That motion, filed on March 6, 2025, has been opposed by defendant-
appellee Eisenberg.

        Out of an abundance of caution, plaintiffs-appellants are advising the Court of a
significant change in circumstances since the Court's Order and plaintiffs-appellants'
Motion. After numerous failed attempts to serve summons and amended complaint upon
defendant-appellee Eisenberg, the district court authorized plaintiff-appellants to serve via
email. That service was successfully perfected on March 17, 2025. (Please see
Affirmation of Service, attached as Exhibit A.)

        Plaintiffs-appellants were concerned that, upon the district court 's dismissal of the
original complaint, they might not be able to ever successfully serve defendant-appellee
Eisenberg with the amended complaint. Among those concerns, and given that the case
had been filed in July 2023, were the possibility of collateral estoppel or statute of
limitations issues.

         Given that defendant-appellee Eisenberg has now been been successfully served,
plainitffs-appellants no longer have a need for the Court to consider those issues.

       Feel free to contact me if there are any questions.
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                                Resperftfully,
                                   /./
                                    //Q, ,f




                                Anthony N. Iannarelli Jr.
                                 Attorney for Appellants


Via ECF
Cc: Mr. David Alan Rosinus, Jr., Esq.
         Counsel for New York
               City Defendants

      Mr. Eric M. Eisenberg, Esq.
            Attorney Pro Se




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              UNITED STATES DISTRICT COURT FOR
             THE SOUTHERN DISTRICT OF NEW YORK
                                        In
 ohamed John Akhtar, La Buca             ..
                                          .n
                                           .I.I
Restaurant, Inc., DBA Swing 46                .l9. Case No. 23-cv-06585 JGLG-VF
                                               |,..
Jazz and Supper Club,                   ....
                                         ....
                                          ....
                                         .
                                         .
                                         .
       Plaintiffs                        .
                                         .
                                         .
                                         .

  v.
                                          .
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                                          .
                                                     Amended Affidavit of Service
                                          .
                                           4
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                                           I




Eric Adams, Mayor of the City of alI        I

                                  l
New York, Rohit T.                  I
                                             1
                                                 9

                                   III
Aggarwala, New York City             ..
                                      ..
Department of Environmental            ..
                                        ..
Protection, Eric M. Eisenberg, & ...
                                         .
Jane Does 1-30, John Does 1-30,

              Defendants.                 E

        Anthony N. lannarelli Jr., of full age and the attorney for plaintiffs

 herein, affirms under the penalty Of perjury to the following:

 1.     On March 17, 2025, I served plaintiffs' Summons and Amended

 Complaint upon defendant Eric M. Eisenberg via email @

 ericeis@.gmail.com, and ericnoise@hotmail.com,

 Exhibit 1. attached, and
                                                                          \
                                                                              \

 2. On March 18, l provided a copy of this Affidavit of Service to

  defendant Eric M. Eisenberg via the same email addresses appearing

  above,




                                                                                    EX. A
             Case: 24-2370, 03/24/2025, DktEntry: 107.1, Page 4 of 5



3.   Additionally, I provided a copy of this Affidavit of Service to counsel for

New York City government defendants via the Court's electronic filing to:

                       Assistant Corporation Counsel
                       New York City Law Department
                       Appeals Division
                       100 Church Street
                       New York, NY 10007


      I affirm to the truth of the forgoing and I am aware that I can be

subject to punishment for any statement knowingly made terse.

Dated: March 18, 2025                               /}
                                                Anthony N. lannarelli Jr.
                                                 Attorney for Plaintiff
           GLORIA QELESHI
               Notary Public
           State of New Jersey
     My Commission Expires May S, 2029
              l.D.# 50220823             I
l.iH1"!"*?'                                                              03/24/2025, DktEntry: 107.1, Page 5 of 5
                        'W-~*
                                .Mmons & Amended 933       24-2370,                                                                           3/17/25, 8:20 PM
                        of u


               Ii */"
   /,4



                        Gmail
              Service of Summons & Amended Complaint

              Anthony lannarelli <anilaw2@gmail.com>                                                                    Mon, Mar 17, 2025 at 8:20 PM
              To: Eric Eisenberg <ericeis@gmaiLcom>, Eric Eisenberg <ericnoise@hotmaiLcom>

               Dear Mr. Eisenberg,                                                                                      .
                   Consistent with the Order if Magistrate Judge Valerie Figuerdo, dated March 14, 2025, you are being served
               with Plaintiffs Mohamed John Akhtar & Swing 46's Summons and Complaint.
                    Thank you for your attention to the above.
                     Sincerely, Anthony N. lannarelli Jr., Attorney for Plaintiffs

                Anthony N. lannareili Jr.
                Attorney at Law
                201-2364838
                anilaw2@gmaii.com

                  2 attachments
                  "3 Amended Complaint .pdf
                   f 6926K
                        Summons .pdf
                    ,   7165K




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